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Salma CaleMalcelatirlicelamcom (el-al iim ell met: .-1-e

United States Bankruptcy Court for the:

District of

| ¢
| Case number (if known): A fe ANS CSchapter you are filing under:

C) Chapter 7
| QO) Chapter 11
| QO) Chapter 12

C) Chapter 13

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 06/24

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 7 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Ea Identify Yourself

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name Ti ron
Write the name thatis on your First name Firstname

government-issued picture
identification (for example,

your driver’s license or ‘A name d Middle name
passport) exanager
Bring your picture Last name Last name
identification to your meeting
with the trustee. Suffix (Sr., Jr., Il, Ill) Suffix (Sr., Jr., Il, Ill)
2. All other names you - :
have used in the last 8 Firsbrame First name
years
Middle name Middle name
Include your married or
maiden names and any
L
assumed, trade names and SaataatTie ee
doing business as names. :
First name First name
Do NOT list the name of any
separate legal entity such as : >
a corporation, partnership, or Middle name Palle reine
LLC that is not filing this
petition. Last name Last name
Business name (if applicable) Business name (if applicable)
Business name (if applicable) Business name (if applicable)

3. Only the last 4 digits of
| your Social Security XXX — XX — 9 4 3 5 XXX = XX —

number or federal OR OR

Individual Taxpayer

Identification number 9 xx - xx - 9 xx - xx -
(ITIN)

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Debtor 4

First Name Middle Name Last Name

acs MARS ER N12 a TER th VARY ARN ts ag ER CRT TA OTRO Ie a nl

Case number (i known)

About Debtor 1:

' 4. Your Employer
Identification Number
(EIN), if any.

EIN

EIN

BT SPE TROT SE poet sn maT PE carmen Bar nena Re ROR SR Cyto mE TN tet URED ST eens He ne ET

arsine

About Debtor 2 (Spouse Only in a Joint Case):

Where you live

100 University Pkwy

If Debtor 2 lives at a different address:

Number Street Number Street
i
| Macon GA 31206
City State ZIP Code City State ZIP Code
Bibb
County

|

|

! County
[

i

if your mailing address is different from the one
| above, fill it in here. Note that the court will send
any notices to you at this mailing address.

If Debtor 2’s mailing address is different from
yours, fillitin here. Note that the court will send
any notices to this mailing address.

i Number Street Number Street
P.O. Box P.O. Bax
City State ZIP Code City State ZIP Code
I
6. Why you are choosing Chg@k one: Check one:

this district to file for . . a:
Over the last 180 days before filing this petition,
| have lived in this district longer than in any

other district.

bankruptcy

C) | have another reason. Explain.
(See 28 U.S.C. § 1408.)

CJ Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

() | have another reason. Explain.
(See 28 U.S.C. § 1408.)

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 2
Debtor 1

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Tiron

Document

Alexander

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Case number (i known)

First Name

Middle Name

Last Name

Tell the Court About Your Bankruptcy Case

7.

The chapter of the
Bankruptcy Code you
are choosing to file
under

How you will pay the fee

Have you filed for
bankruptcy within the
last 8 years?

10. Are any bankruptcy

11.

cases pending or being
filed by a spouse who is
not filing this case with
you, or by a business
partner, or by an
affiliate?

Do you rent your
residence?

Official Form 101

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for individuals Filing
for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

A chapter 7

C] Chapter 11
C) Chapter 12
LJ Chapter 13

LJ 1 will pay the entire fee when | file my petition. Please check with the clerk’s office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

(J I need to pay the fee in installments. If you choose this option, sign and attach the
Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

J, request that my fee be waived (You may request this option only if you are filing for Chapter 7.

By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to

pay the fee in installments). If you choose this option, you must fill out the Application to Have the

Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

UL) Yes.

District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD /YYYY
District When Case number
MM/ DD/YYYY
db
UC) Yes. Debtor Relationship to you
District When Case number, if known,
MM/OD /YYYY
Debtor Relationship to you
District When Case number, if known
MM /DD/YYYY
Wi Goto tine 12.

Q) Yes.

Has your landlord obtained an eviction judgment against you?

L] No. Go to line 12.

C) Yes. Fill out /nitial Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

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Debtor 1 Ti ron Alexa nd er Case number (# known)

First Name Middie Name Lasl Name

ae Report About Any Businesses You Own as a Sole Proprietor

12. Are you a Sole proprietor CH, Go to Part 4.
of any full- or part-time
business? CL] Yes. Name and location of business

A sole proprietarship is a
business you operate as an
individual, and is nota
separate legal entity such as

a corporation, partnership, or
tL p P Number Street

Name of business, if any

lf you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

City State ZIP Code

Check the appropriate box to describe your business:

C) Health Care Business (as defined in 11 U.S.C. § 101(27A))
Q Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Q) Stockbroker (as defined in 11 U.S.C. § 101(53A))

) Commodity Broker (as defined in 11 U.S.C. § 101(6))

LJ None of the above .

13. Are you filing under If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadiines. If you indicate that you are a small business debtor, you must attach your
Bankruptcy Code, and most recent balance sheet, statement of operations, cash-flaw statement, and federal income tax return or
are you a small business if any of these documents do not exist, fallow the procedure in 11 U.S.C. § 1116(1)(B).
debtor?

For a definition of smalf No. | am not filing under Chapter 11.
busi
Muse F 101610) LI No. tam filing under Chapter 11, but | am NOT a small business debtor according to the definition in

the Bankruptcy Code.

QO) Yes. }am filing under Chapter 11, | am a small business debtor according to the definition in the
Bankruptcy Code, and | do not choose to proceed under Subchapter V of Chapter 11.

L) Yes. tam filing under Chapter 11, | am a small business debtor according to the definition in the
Bankruptcy Code, and ! choose to proceed under Subchapter V of Chapter 11.

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Debtor 1 Ti ron Al e€Xa nd e r Case number (if known)

First Name Middle Name Last Name

Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14, Do you own or have any L

roperty that poses or is
alleged to pose athreat 41 Yes. Whatis the hazard?

of imminent and
identifiable hazard to

public health or safety?
Or do you own any

property that needs If immediate attention is needed, why is it needed?

immediate attention?
For example, do you own

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?
Where is the property?

Number Street

City State ZIP Code

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Tiron

Debtor 1

Document

Alexander

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First Name

Middie Name

Last Name

10

Case number (# known)

fa Explain Your Efforts to Receive a Briefing About Credit Counseling

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

lf you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 104

About Debtor 1:

You must check one:

OQ) i received a briefing from an approved credit

counseling agency within the 180 days before |
filed this bankruptcy petition, and I received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you develaped with the agency.

C) treceived a briefing from an approved credit

counseling agency within the 180 days before I
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

Ot certify that | asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days after I made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement. .

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable io obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the appraved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

Barn not required to receive a briefing about

credit counseling because of:

U) Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

Aorcavitty

My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
thraugh the internet, even after |
reasonably tried to do so.

C) Active duty. | am currently on active military
duty in a military combat zane.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

C] t received a briefing from an approved credit
counseling agency within the 180 days before I
filed this bankruptcy petition, and I received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

C) | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but Ido not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

Chi certify that I asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the courtis
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after yau file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you da not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

CJ tam not required to receive a briefing about
credit counseling because of:

C) Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

C) Disability. My physical disability causes me
to be unable to participate in a
briefing in persan, by phone, or
through the internet, even after |

reasonably tried to do so.

C) Active duty. | am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

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Debtor 1 Ti ron Al exXa nd e r Case number (i known)

First Name Middle Name Last Name

Answer These Questions for Reporting Purposes

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

-. Go to line 16b.
Yes. Go to line 17.
16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain

money for a business or investment or through the operation of the business or invesiment.

LJ No. Go to line 16c.
Cl Yes. Go to fine 17.

16. What kind of debts do
you have?

16c. State the type of debts you owe that are not consumer debts or business debts.

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is
excluded and
administrative expenses
are paid that funds will be
available for distribution
to unsecured creditors?

aS | am not filing under Chapter 7. Go to line 18.
Ye

s. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

@f No
UL] Yes

18. How many creditors do
you estimate that you
owe?

19. How much do you
estimate your assets to

LJ 1-49
FP? o-09
LJ 100-199

ayes...
$0-$50,000

LJ $50,001-$100,000

L) 4,000-5,000
(J 5,001-10,000
C) 10,001-25,000

CJ $1,000,001-$10 million
(2) $10,000,001-$50 million

L} 25,001-50,000

() 50,001-100,000

C) More than 100,000

LJ $500,000,004-$1 billion
C) $1,000,000,001-$10 billion

be worth? L} $10,000,000,001-$50 billion

LJ More than $50 billion

CJ $50,000,001-$100 million
QJ $100,000,001-$500 million

CJ $100,001-$500,000
LJ $500,001-$1 million

C1 g6)-$50,000
@r50.001-$100,000
L) $100,001-$500,000
C) $500,001-$1 million

LJ $500,000,001-$1 billion

CL) $1,000,000,001-$10 billion
C) $10,000,000,001-$50 billion
LJ More than $50 billion

C) $1,000,001-$10 million

CJ $10,000,001-$50 million
CL) $50,000,001-$100 million
LJ $100,000,001-$500 million

20. How much do you
estimate your liabilities
to be?

iw Sign Below

| have examined this petition, and | declare under penalty of perjury that the information provided is true and

For you correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
af title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed
under Chapter 7.

If no attorney represents me and | did not pay ar agree to pay someone who is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

x

Signature of Debtor 2

Sighature of Debtor 1

Executed on 1 0/1 6/2024

Executed on

7? DD /YYYY MM / DD /YYYY~

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Debtor 1 Case number (i known)

First Name Middla Name Last Name

|, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility
to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
available under each chapter for which the person is eligible. | also certify that | have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no

For your attorney, if you are
represented by one

lf you are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page. sx
Date
Signature of Attorney for Debtor MM / DD /YYYY

Printed name

Firm name

Number Street

City State ZIP Code
Contact phone Email address
Bar number State

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 8
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Debtor 1 Ti ro Nn Al exa nd e r Case number (# known)

First Name Middle Name Last Name
For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an should understand that many people find it extremely difficult to represent
attorney themselves successfully. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.

If you are represented by
an attorney, you do not To be successful, you must correctly file and handle your bankruptcy case. The rules are very

need to file this page. technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

ON

Ons

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

a
Yes

Didfou pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
No

C] Yes. Name of Person .
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

By signing here, | acknowledge that I understand the risks involved in filing without an attorney. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an
attorney may cause me to lose py rights or property if | do not properly handle the case.

Cotngthis peCe bt Signature of Debtor 2

oe 10/16/2024 ole
Contact phone (404.)934-8899 Contact phone

Call phone Cell phone

Email address tuffytufftl@yahoo.com Email address

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